 Case 4:12-cv-02850 Document 52 Filed on 08/31/15 in TXSD Page 1 of 2




UNffiD STATES DISTRICT COURT                                      SOUTHERN DISTRICT OF TEXAS




Ironshore Indemnity, Inc.,                   §
                                             §
             Plaintiffs,                     §
                                             §
versus                                       §                               Civil Action H-I2-2850
                                             §
John M. O'Quinn f:y Associates, PUC, ct al., §
                                             §
             Defendant.                      §



                                   Opinion on Summary Judgment

1.          Introduction.
        An insurer says that it does not have a duty to defend its insured because the claim is
excluded from the policy. It says that the insured knew about the claim before it sought
coverage. The insured says that the claim is not excluded because the firm only knew about
some of the claims. For this reason, the insurer does not have a duty to defend.


2.          Background.
            In the early    2000S,   John M. O',Quinn f:y Associates, UP, represented workers with
silicosis. In   20II,   a group of these clients sued the law firm for malpractice in the House suit.
Other clients have joined the suit, and it now has more than         500   members.
        In      2006    and   2010,    the firm told its insurers about potential claims from its
representation of workers in the silicosis cases. The firm has $ I 5 million in coverage for   2005-

2006   and $I 5 million for      2009-2010.

        In     2010,    Ironshore Indemnity, Inc., issued the firm an excess-liability policy for
September of 20 I 0 through September of 20 I I with a $ 5 million limit. The primary policy for
2010   to   201 I -   issued by Interstate Fire f:y Casualty Company - has a $ 10 million limit, and
the first-excess policy - issued by Executive Risk Indemnity, Inc. - has a $ 5 million limit.
            On June    25, 2014,     the court denied O'Quinn's motion to dismiss.
 Case 4:12-cv-02850 Document 52 Filed on 08/31/15 in TXSD Page 2 of 2


3.         Defense.
           The House suit represents only a small group of O'Quinn's former silicosis clients.
Many more clients have since filed malpractice suits against O'Quinn for the same or similar
reasons. O'Quinn knew or should have known that more lawsuits would be brought against
them after the House suit.
           O'Quinn says that the policy's prior-notice exclusion does not eliminate Ironshore's
duty to defend because the plaintiffs in the House suit brought a wide range of claims. They say
that Ironshore cannot treat the entire House suit as a unified claim or set of related claims within
the meaning of their policy. O'Quinn says that Ironshore cannot use the exclusion to cover all
of the defendants, because each defendant has their own separate case against 0' Quinn. Because
each defendant has their own claim against O'Quinn, they say that they did not know about
each claim against them, and therefore, the policy exclusion is not triggered.
           Ironshore is not liable to defend O'Quinn because an exception            In   its policy
unambiguously excludes coverage for known claims. O'Quinn knew about the House suit and
sent letters to its insurers about settlements before the Ironshore policy issued. O'Quinn did
not receive coverage from Ironshore until years after the House suit.
           The contention that O'Quinn knew about some, but not all silicosis cases is
disingenuous at best and logically impossible. As soon as one of its former clients sued it,
O'Quinn knew or should have known about similar claims in other cases.


4.         Conclusion.
           Ironshore does not have a duty to defend O'Q.tinn in any claims brought against them
in regards to the House suit, or any related silica matter. O'Quinn acted deliberately and
dishonestly with all of its prior silicosis clients and had clear prior knowledge of its wrongful
actions.


           Signed on August 3I, 20I5, at Houston, Texas.




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                                                          LynnN.~~
                                                   United States DistrictJudge
